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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                                Eastern Division

Raul A Vasquez
                              Plaintiff,
v.                                                    Case No.: 1:19−cv−06014
                                                      Honorable John Z. Lee
City Of Chicago
                              Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, November 1, 2019:


         MINUTE entry before the Honorable John Z. Lee:Initial status hearing set for
12/10/19 at 9:00 a.m. Judge Lee participates in the Mandatory Initial Discovery Pilot
Project ("Project"). The Project applies to all cases filed on or after June 1, 2017,
excluding the following: (1) cases exempted by Rule 26(a)(1)(B), (2) actions brought by a
person in the custody of the United States, a state, or a state subdivision, regardless of
whether an attorney is recruited, (3) actions under the Private Securities Litigation Reform
Act, (4) patent cases governed by the Local Patent Rules, and (5) cases transferred for
consolidated administration in the District by the Judicial Panel on Multidistrict Litigation
("Exempt Cases").For all cases to which the Project applies, Judge Lee requires (1) each
attorney appearing on behalf of Plaintiff(s) to file a "Certification by Attorney Regarding
Discovery Obligations Under Mandatory Initial Discovery Pilot Project" form within 28
days after the filing of the Complaint and (2) each attorney appearing on behalf of
Defendant(s) to file the certification form with the Answer. The parties are directed to file
a joint initial status report four business days prior to the initial status hearing. The
certification form and initial status report requirements are set forth in Judge Lee's
standing order regarding the "Mandatory Initial Discovery Pilot Project" available on the
Courts website. For all Exempt Cases, the parties are directed to file a joint initial status
report four business days prior to the initial status hearing in accordance with the standing
order governing "Initial Status Report in Cases Exempt from the Mandatory Initial
Discovery Pilot Project" also available on the Court's website. Mailed notice(ca, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
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